 4:07-cr-03036-RGK-CRZ   Doc # 36   Filed: 08/15/07   Page 1 of 1 - Page ID # 70



                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,            )
                                     )
                Plaintiffs,          )                4:07CR3036
                                     )
           v.                        )
                                     )                   ORDER
JOSEPH ROBERT MORANDO,               )
                                     )
                Defendant.           )
                                     )




     IT IS ORDERED:

     Defendant’s motion to continue trial, filing 34, is denied

for failure to show good cause to continue the trial again.


     DATED this 15th day of August, 2007.


                                    BY THE COURT:


                                    s/   David L. Piester
                                    David L. Piester
                                    United States Magistrate Judge
